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EXHIBIT 7
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

AUDIO MPEG, INC.,
Plaintiff,
Vv. Civil Action No. 05-0565

THOMSON S.A., et al.,

Defendants.

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This matter comes before the Court on Defendant Thomson
S.A.’s Motion to Dismiss Plaintiff’s Amended Complaint for lack
of subject matter jurisdiction, lack of personal jurisdiction,
and failure to join indispensable parties. See Fed. R. Civ. P.
12(b) (1), (6), (7). The Court finds that it does not have
personal jurisdiction over Thomson S.A. and that Thomson S.A.‘s
Motion to Dismiss should be granted. Accordingly, Thomson S.A.’s
arguments on lack of subject matter jurisdiction and failure to
join indispensable parties are rendered moot and will not be
discussed in this Order,

Plaintiff, Audio MPEG, Inc., is a corporation organized
under the laws of the Commonwealth of Virginia and whose
principal place of business is in the Commonwealth of Virginia.
Defendant Thomson S.A. is a corporation organized under the laws

of France and whose principal place of business is in France,

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Defendant Thomson, Inc. is a corporation organized under the laws
of the State of Indiana and whose principal place of business is
in the State of Indiana. In the present matter, Plaintiff claims
that Defendants infringed upon certain patents to which Plaintiff
has an exclusive license. See 35 U.S.C. §§ 271, 281 (2000).
Plaintiff seeks both monetary damages and injunctive relief.

Personal jurisdiction analysis with regards to foreign
corporations in patent infringement cases consists of two parts,
First, does the state long-arm statute grant personal

jurisdiction. See Graphic Controls Corp. v. Utah Med. Prods.,

Inc., 149 F.3d 1382, 1385-86 (Fed. Cir. 1998). Second, if
jurisdiction is appropriate under the state long-arm statute, is
it consistent with federal due process standards. Id.

The Virginia long-arm statute provides that “[a] court may
exercise personal jurisdiction over a person, who acts directly
or by an agent, as to a cause of action arising from the
person’s: [t])ransacting any business in [Virginia]; [or]
[c]ontracting to supply services or things in [Virginia].” Va.
Code Ann. § 8.01-328.1 (1950). The Virginia Supreme Court has
held that the Virginia long-arm statute “extend[{s] personal
jurisdiction to the full extent permitted by the Due Process

Clause.” Diamond Healthcare of Ohio, Inc. v. Humility of Mary

Health Partners, 229 F.3d 448, 450 (4th Cir. 2000). Therefore,

“in determining the reach of the [Virginia] long-arm statute, the

statutory and constitutional inquiries coalesce into the question
of whether [the defendant] had sufficient minimum contacts with
Virginia to satisfy due process requirements.” Id.

Federal due process requires that foreign corporations have
a meaningful relationship with the forum state, so that the
exercise of personal jurisdiction does not offend the traditional

notions of fair play and substantial justice. Burger King Corp.

v. Rudzewicz, 471 U.S. 462, 471-72 (1985); Beverly Hills Fan Co.

v. Royal Sovereign Corp., 21 F.3d 1558, 1565 (Fed. Cir. 1994).

This “meaningful relationship” can create general or specific
personal jurisdiction. General jurisdiction arises when a
defendant has continuous and systematic contact with the forum

state. See Helicopteros Nacionales de Colombia, S.A. v. Hall, 466

U.S. 408, 414-17 (1984). Specific jurisdiction arises when a
defendant has minimum contacts with the forum state and the
issues in the case arise from those minimum contacts, See Asahi

Metal Indus. Co., Ltd. v. Superior Ct. of Cal., Solano County,

480 U.S. 102, 108-09 (1987). The presence of either general or
specific jurisdiction satisfies the constitutional requirements
of the Due Process Clause.

While there is no established test to determine whether a

court has general jurisdiction, LSI Indus., Inc. v, Hubbell

Lighting, Inc., 232 F.3d 1369, 1375 (Fed. Cir. 2000), the facts

of this case do not support a finding that Thomson §.A. has

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continuous and systematic contacts with Virginia. Thomson S.A. is
a corporation registered under the laws of France and does not
own any property or maintain any bank accounts, offices, or
business operations in Virginia. Thomson S.A. does not offer
services in Virginia or sell its products to individuals or
entities in Virginia. Furthermore, Thomson S.A. does not employ
anyone in Virginia.

Likewise, the facts of this case do not support a finding of
specific jurisdiction. The Federal Circuit has established a
three prong test for determining whether there is specific
jurisdiction: whether the defendant purposefully directed its
activities at residents of the forum; whether the claim arises
out of or relates to these activities; and whether assertion of

personal jurisdiction is reasonable and fair. Akro Corp. v.

Luker, 45 F.3d 1541, 1545-56 (Fed. Cir. 1995) (citing Burger

King, 471 U.S. at 471-76). The first two factors establish the
minimum contacts requirement while the third prevents violation
of “traditional concepts of fair play and substantial justice.”

Int'l Shoe Co. v. Wash., 326 U.S. 310, 320 (1945).

Thomson S.A. has not purposefully directed its activities
towards Virginia. Thomson S.A. does not manufacture any products
for any distributor or any retailer in Virginia. While products
produced by Thomson S.A. may enter Virginia through the stream of

commerce, this does not satisfy the first prong of the test

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because Thomson S.A. has not engaged in activity purposefully

directed towards Virginia. See Lesnick v. Hollingsworth Vose Co.,

35 F.3d 939, 946-47 (4th Cir. 1994) (finding that mere placement
of a product in the stream of commerce does not purposefully
direct activity toward the forum state).

te the first prong fails, the second prong also fails. There
can be no relation between Plaintiff’s claims of patent
infringement and Thomson S.A.’s alleged activities purposefully
directed towards Virginia when this Court determines that Thomson
S.A. did not engage in such activities. As to the third prong,
personal jurisdiction in this matter is not reasonable or fair.
Thomson S.A. has not engaged in activities purposefully directed
towards Virginia and could not reasonably be expected to
anticipate having to defend itself in the Eastern District of
Virginia.

Plaintiff also argues that jurisdiction is appropriate
because Thomson, Inc., as an alleged agent of Thomson S.A., has
minimum contacts with Virginia. Whether or not this Court has
personal jurisdiction over Thomson, Inc. is irrelevant because
the Court finds that there is insufficient evidence that Thomson,

Inc. is an agent or alter ego of Thomson S.A. See Black & Decker

(U.S.) Inc. v. Pro-Tech Power Inc., 26 F. Supp. 2d 834, 843 (E.D.

Va. 1998). Thomson S.A. and Thomson, Inc. are separate

corporations in form and fact. They have separate corporate

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offices, officers, and bank accounts. Thomson, Inc. is
independently responsible for selling, marketing, and
distributing its products. Id. It appearing to the Court that
there is no personal jurisdiction in this matter as to Defendant
Thomson S.A., it is hereby

ORDERED that Defendant Thomson S.A.’s Motion to Dismiss
Plaintiff's Amended Complaint for lack of subject matter
jurisdiction, lack of personal jurisdiction, and failure to join
indispensable parties is GRANTED due to a lack of personal

jurisdiction and this case is DISMISSED as to Defendant Thomson

S.A.

/s/

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
October 17, 2005

